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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                 CHAPTER 13 CASE NO.:
FELICIEA PHILLIPS                                                             19-11580-JDW

                             OBJECTION TO CONFIRMATION

       COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) Meeting of Creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation (the

“Objection”), and in support thereof states as follows:

       1.      The Debtor commenced this proceeding by filing a Voluntary Petition on April 11,

2019 (the “Petition Date”). The Debtor filed a proposed Chapter 13 Plan (Dkt. #8) (the “Plan”)

on April 23, 2019.

       2.      The Debtor is below median income and the proposed term of the Plan is sixty (60)

months. The Plan does not provide for a distribution to nonpriority unsecured creditors.

       3.      The Plan fails to comply with 11 U.S.C. § 1325(a)(1). Section 3.1(a) of the Plan

provides that the ongoing mortgage payments shall be paid beginning in June to USDA. However,

the Trustee does not have enough funds on hand to make this disbursement to USDA and the other

creditors at confirmation. Additionally, based on the amount of the plan payment in Section 2.2

the Trustee presumes that the Debtor intends for the ongoing mortgage to USDA to be paid through

the Plan, but Section 3.1(a) fails to mark the appropriate box specifying how the mortgage shall

be paid.

       4.      The Debtor failed to disclose the Debtor’s financial affairs as required by 11 U.S.C.

§ 521(a)(1)(B)(iii); therefore, the requirement of §1325(a)(1) is not met. Specifically, the




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Statement of Financial Affairs fails to disclose the money the Debtor has paid for fees and expenses

related to the filing of this bankruptcy case as required by Question number sixteen (16).

       5.      The Debtor should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

       6.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: May 30, 2019.

                                      Respectfully submitted,

                                      LOCKE D. BARKLEY
                                      CHAPTER 13 TRUSTEE

                              BY:     /s/ Melanie T. Vardaman
                                      ATTORNEYS FOR TRUSTEE
                                      W. Jeffrey Collier (MSB 10645)
                                      Melanie T. Vardaman (MSB 100392)
                                      6360 I-55 North, Suite 140
                                      Jackson, Miss. 39211
                                      (601) 355-6661
                                      mvardaman@barkley13.com




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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: May 30, 2019.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




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